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         [Submitting Counsel on Signature Page]
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 8                                   UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
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11       IN RE: SOCIAL MEDIA ADOLESCENT                Case No. 4:22-MD-03047-YGR
         ADDICTION/PERSONAL INJURY
12       PRODUCTS LIABILITY LITIGATION                 MDL No. 3047
13
                                                       CASE MANAGEMENT ORDER NO. 10:
14       This Document Relates to:
                                                       [PROPOSED] STIPULATED
15       ALL LOCAL GOVERNMENT AND                      IMPLEMENTATION ORDER
         SCHOOL DISTRICT ACTIONS                       GOVERNING ADOPTION OF MASTER
16                                                     COMPLAINT (LOCAL GOVERNMENT
                                                       AND SCHOOL DISTRICT) AND
17                                                     SHORT-FORM COMPLAINTS FOR
                                                       FILED CASES
18

19   I.        APPLICABILITY AND SCOPE OF ORDER
20             1.     This Implementation Order (“Order”) applies only to Local Government Entities
21   and School Districts, including school districts, municipalities, county district attorneys, and
22   counties, who have asserted or seek to assert claims related to Defendants’ social media platforms
23   (“Local Government and School District Plaintiffs”) consistent with the scope of the October 11,
24   2022 Transfer Order initiating these MDL proceedings and the November 16, 2023 and November
25   21, 2023 Orders establishing a separate motion to dismiss briefing track and subcommittee for
26   claims brought by Local Government and School District Plaintiffs.1 See ECF Nos. 450, 451. No
27
     1
28    This Order does not apply to government entity cases filed by a State Attorney General or to
     personal injury cases.
                                                           [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                 1         GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                               GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                               FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
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 1   claims by Local Government and School District Plaintiffs may be asserted in current or future

 2   filed cases in this MDL other than pursuant to the terms of this Order. This Order applies to cases

 3   directly filed in this MDL and those transferred, removed, or otherwise assigned to this proceeding

 4   (collectively, “this MDL proceeding”). This Order is binding on all Parties and their counsel in all

 5   such cases. This Order is not intended to alter the applicable provisions of the Federal Rules of

 6   Civil Procedure or the Local Rules of this Court, except as specified herein or in any subsequent

 7   Pretrial Order. Defendants preserve all defenses, including jurisdictional and venue challenges, to

 8   any claims brought in this MDL pursuant to this Order.

 9   II.      MASTER PLEADINGS

10            A.     MASTER COMPLAINT               (LOCAL      GOVERNMENT              AND      SCHOOL
                     DISTRICT PLAINTIFFS)
11
              2.     Timing. Pursuant to a Minute Order entered on November 16, 2023, 2 the Local
12
     Government and School District Plaintiffs’ Steering Committee (PSC) filed a Plaintiffs’ Master
13
     Complaint (Local Government and School District Plaintiffs) (“Master Complaint”) on December
14
     18, 2023.
15
              3.     Effect of Master Complaint. All claims pleaded in the Master Complaint will
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     supersede and replace all claims for a Local Government and School District Plaintiff in any action
17
     pending in this MDL, except for those claims separately asserted in the Short-Form Complaint per
18
     the below. Nothing in this Order shall preclude the PSC from seeking leave to amend the Master
19
     Complaint as provided in the Federal Rules of Civil Procedure or preclude any Defendant from
20
     opposing such leave.
21
              B.     SHORT-FORM COMPLAINT
22
              4.     Attached as Exhibit A to the Master Complaint and this Order is a template form
23
     Short-Form Complaint (“SFC”) for use by Local Government and School District Plaintiffs in
24
     current and future-filed cases in this MDL.
25
              5.     The SFC is an abbreviated form that each individual Local Government and School
26
     District Plaintiff will complete, indicating their individual claims, the Defendants against whom
27

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     2
         Dkt. 450.
                                                                [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                      2         GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                                GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                                FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
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 1   they are bringing those claims, and adopting the applicable factual allegations set forth in the

 2   Master Complaint as the basis for those individual claims plus any additional factual allegations

 3   the Local Government and School District Plaintiff includes in their SFC. Each Local Government

 4   and School District Plaintiff who claims injury arising from Defendants’ platforms shall file a

 5   separate SFC setting forth their individual claims. By this process, all allegations applicable to the

 6   specific Defendants named in the SFC that are set forth in the Master Complaint shall be deemed

 7   pleaded against those Defendants.

 8          6.      For each such action by a Local Government and School District Plaintiff, the

 9   Master Complaint (and any subsequent amendments) and the SFC (and any subsequent

10   amendments) shall be deemed the Plaintiff’s operative Complaint.

11          7.      Each SFC filed in this MDL proceeding shall indicate the federal district where the

12   individual Plaintiff(s) originally filed or would have originally filed their Complaint.

13          8.      The procedures for filing the Master Complaint and the SFC do not reflect that the

14   Defendants have agreed to or admitted the allegations set forth in those pleadings, nor have the

15   Defendants conceded or waived their right to dispute the legal validity of the claims alleged therein.

16          9.      Timing and Effect of Filing Short Form Complaints
17                  a.      Complaints Transferred, or in the Process of Being Transferred, to this
18   MDL Before the Filing of this Order: Any Local Government and School District Plaintiff whose
19   Complaint was transferred to this MDL or was in process of being transferred to this MDL before
20   the date of filing this Order must file a SFC in their individual case, referencing their individual

21   docket number to avoid the triggering of a filing fee, by January 30, 2024 or 14 days after entry of

22   this Order, whichever is later. For purposes of statutes of limitations and statutes of repose, any

23   such Local Government and School District Plaintiff shall be deemed to have filed their Complaint

24   as of the date they filed their original Complaint, and not the date of the Master Complaint or the

25   date they filed the SFC. Nothing in this Order or the filing of a SFC shall be construed as a prior

26   dismissal or amendment of a prior Complaint, but the prior Complaint shall no longer be deemed

27   the operative Complaint.

28
                                                                 [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                       3         GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                                 GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                                 FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
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 1                   b.      All Other Local Government and School District Complaints

 2                           i.      Direct Filed cases: All Local Government and School District

 3   Plaintiffs must file their SFC electronically in this MDL. The Court refers the Plaintiffs’ counsel to

 4   Case Management Order No. 4 – Direct Filing Order (“CMO-4”), or any amendments to CMO-4, 3

 5   which is incorporated herein and should be reviewed and followed. For purposes of statutes of

 6   limitations and statutes of repose, any such Local Government and School District Plaintiff shall

 7   be deemed to have filed their Complaint as of the date they filed their SFC and not the date of the

 8   Master Complaint, except for any Local Government and School District Plaintiff who filed a

 9   Complaint in this MDL pursuant to CMO-4 before this Order was entered, the date on which they

10   filed such Complaint shall be the relevant date.

11                           ii.     Transferred cases: Any Local Government and School District

12   Plaintiff whose case becomes part of this MDL after the date of this Order by transfer from another

13   district or from another judge in this district, must file a SFC within 20 days from the date of transfer

14   or, if originally filed in this district, assignment to this Court. For purposes of statutes of limitations

15   and statutes of repose, any such Local Government and School District Plaintiff shall be deemed to

16   have filed their Complaint as of the date they filed their original Complaint in a different judicial

17   district or in this district and not the date of the Master Complaint or the date they filed their SFC.

18                   c.      No Multi-Plaintiff Local Government and School District Complaints:

19   Each Local Government and School District Plaintiff must have an individual Complaint on file.

20   Any Local Government and School District Plaintiff who asserts claims in a multi-plaintiff

21   Complaint that is pending or that is subsequently transferred to this MDL must file an individual

22   SFC by January 30, 2024, or 14 days after entry of this Order, whichever is later, or 20 days from

23   the date that the Court posts the applicable Transfer Order on its docket.

24   III.     RESPONSE TO MASTER COMPLAINT AND SHORT-FORM COMPLAINTS

25            10.    To eliminate potential delays and to promote judicial efficiency with respect to the

26   administration of this MDL proceeding, all SFCs filed in this MDL proceeding are deemed

27   answered and denied, without waiver of any defense or right to move to dismiss, and with full

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         Dkt. 119.
                                                                    [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                         4          GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                                    GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                                    FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
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 1   preservation of all arguments and defenses that may be raised in any responsive pleading that may

 2   be required by future order of the Court or motion to dismiss.

 3   IV.       SERVICE OF PROCESS

 4             A.     SERVICE OF PROCESS OF NEWLY NAMED DEFENDANTS

 5             11.    Local Government and School District Plaintiffs may file an action against any

 6   Defendant not named in the current Master Complaint (“Newly Named Defendants”) directly in

 7   the MDL by using the Short-Form Complaint 4 and the Master Complaint which is deemed adopted

 8   into any filed SFC.

 9             12.    By this Order, Local Government and School District Plaintiffs who name any

10   Newly Named Defendant in their SFC may effectuate service of process on each Newly Named

11   Defendant by serving upon each Newly Named Defendant named in the SFC, in accordance with

12   Rule 4 of the Federal Rules of Civil Procedure with the following:

13                    a. a copy of the Master Complaint;

14                    b. the SFC;

15                    c. a copy of this Order; and,

16                    d. a Summons.

17             13.    The right of Defendants and Newly Named Defendants to challenge jurisdiction and

18   venue are hereby preserved and explicitly not waived by Plaintiffs’ direct filing of SFCs.

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         See ¶¶ 7, 9 of the SFC.
                                                                [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                      5         GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                                GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                                FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
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 1          B.      SERVICE OF PROCESS OF THE DEFENDANTS NAMED IN THE
                    CURRENT MASTER COMPLAINT
 2
            14.     CMO-4, Section II (G), is amended [see ECF No. 177, at ¶ 14] as follows: the
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     Defendants Meta Platforms, Inc., formerly known as Facebook Inc.; Instagram, LLC; Facebook
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     Operations, LLC; Facebook Payments, Inc.; Siculus, Inc.; Meta Platforms Technologies, LLC;
 5
     Meta Payments, Inc.; Whatsapp Inc.; Snap Inc.; ByteDance, Inc.; TikTok, Inc; ByteDance Ltd.;
 6
     TikTok Ltd.; TikTok LLC; YouTube, LLC; and Google LLC agree to waive formal service of
 7
     summons pursuant to Rule 4 of the Federal Rules of Civil Procedure. Please note that a Plaintiff
 8
     that is serving a SFC, Summons, and Civil Cover Sheet is not required to serve a copy of the Master
 9
     Complaint upon the currently named Defendants.
10
            15.     MDL Centrality will provide a mechanism for Plaintiffs to upload and serve copies
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     of the Complaint, Summons, and Civil Cover Sheet that were Electronically Filed with the Court
12
     on Defendants. MDL Centrality is accessible at www.mdlcentrality.com/socialmedia. Each
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     Plaintiff, through counsel or pro se, may obtain authorized usernames and secure login passwords
14
     to permit the use of MDL Centrality by emailing socialmedia@browngreer.com.
15
            16.     Plaintiffs must upload the file-stamped version of the SFC and a fillable PDF version
16
     of the SFC to MDL Centrality on the same day that the SFC is filed with the Court. Service on
17
     Defendants shall be deemed to occur when the submitting party has received the MDL Centrality
18
     confirmation report that the materials have been successfully submitted to Defendants.
19
            17.     For any SFC filed on or before the date of this Order, a file-stamped copy of the
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     Short Form Complaint must be uploaded to MDL Centrality within fourteen (14) days of the date
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     of this Order. Additionally, if counsel possesses a fillable PDF version of any previously filed Short
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     Form Complaint, the fillable PDF version must also be uploaded to MDL Centrality by this date.
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            18.     Plaintiffs shall make proof of electronic service to the Court as required by Rule
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     4(l)(1) of the Federal Rules of Civil Procedure. Plaintiffs may use the MDL Centrality report to
25
     demonstrate proof of service.
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            19.     In the event a Plaintiff intends to name a Defendant not listed above, the Plaintiff
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     must serve the unlisted Defendant by the methods of service prescribed by the Federal Rules of
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                                                                 [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                       6         GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                                 GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                                 FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
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 1   Civil Procedure.

 2          20.     For all SFCs filed in, removed to, or transferred to this MDL: (i) all requests for

 3   issuance of summons shall be made in the underlying constituent case, and not through the MDL

 4   Master Docket File; (ii) all proofs of service shall be filed only in the underlying constituent case

 5   and not in the MDL Master Docket File. Acceptance of electronic service shall not constitute a

 6   waiver of any defense, and all defenses are preserved pursuant to Paragraph I(1).

 7          IT IS SO ORDERED,

 8   Dated: February 20, 2024

 9                                                        _______________________________
10                                                        YVONNE GONZALEZ ROGERS
                                                          UNITED STATES DISTRICT JUDGE
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                                                                [PROPOSED] STIPULATED IMPLEMENTATION ORDER
                                                      7         GOVERNING ADOPTION OF MASTER COMPLAINT (LOCAL
                                                                GOVERNMENT AND SCHOOL DISTRICT) AND SHORT-
                                                                FORM COMPLAINTS– CASE NO. 4:22-MD-03047-YGR
